   Case 3:15-cv-03815-L Document 77 Filed 09/29/16                  Page 1 of 3 PageID 440


                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

EMILIANO RODRIGUEZ-RODRIGUEZ, et §
al.,                                 §
                                     §
      Plaintiffs,                    §
                                     §                    Civil Action No. 3:15-CV-3815-L
v.                                   §
                                     §
BIG BIRD TREE SERVICE, INC., et al., §
                                     §
      Defendants.                    §


                                              ORDER

       Before the court is Plaintiffs’ Unopposed Motion to Conditionally Certify a Collective

Action (Without Prejudice) and Motion for Approval of Form of Notice and Case Deadlines (the

“Motions”), filed September 28, 2016. The court determines that the Motions should be, and are

hereby, granted. Accordingly, it is therefore ordered that:


       1.        The court conditionally certifies a collective action under the Federal Fair Labor

Standards Act, 29 U.S.C. §216, and authorizes Plaintiffs’ counsel to issue opt-in notices and

consent forms to all current and former hourly paid landscape workers for the three years’ prior

to the date of entry of this Order. Notice shall be sent in the form attached to Plaintiffs’ Motion.

       2.        The court further approves the following Notice schedule:

                        DEADLINE                       DESCRIPTION OF DEADLINE

        10 Days From Order Approving                Defendants to disclose the full names,
        Notice to Potential Class Members,          last known addresses, last known email
        or 10 days after entry of Agreed            addresses, and dates of employment of
        Protective Order, whichever is later.       the Putative Class Members. This
                                                    information shall be produced in a
                                                    usable electronic format.
        DEADLINE                                    DESCRIPTION OF DEADLINE

Order – Page 1
    Case 3:15-cv-03815-L Document 77 Filed 09/29/16                 Page 2 of 3 PageID 441




         No Fewer than 20 Days From                 Plaintiffs’ Counsel shall send by mail
         Receipt of Contact Information of          and e-mail a copy of Notice and
         Putative Class Members from                Consent Forms to the Putative Class
         Defendant                                  Members.

         60 Days From Date Notice is Mailed         Putative Class Members have 60 days
         to Potential Class Members                 to return their signed Consent forms for
                                                    filing with the court. That 60 day
                                                    period shall begin to run three days
                                                    after the mailing of the notice by
                                                    Plaintiffs’ Counsel. Notice shall be
                                                    considered timely received if
                                                    postmarked no later than the end of the
                                                    60 day notice period and filed by
                                                    Counsel for Plaintiffs promptly.
         30 Days from Date Notice is Mailed         Plaintiffs’ Counsel are authorized to
         to Potential Class Members                 send a postcard reminder to the
                                                    Putative Class Members, and is
                                                    authorized to e-mail a second identical
                                                    copy of the Notice and the Consent
                                                    form to the Putative Class Members
                                                    reminding them of the deadline for the
                                                    submission of the Consent forms.


       3.        Within 24 hours of mailing the notices to the potential class members as described

above, Counsel for Plaintiffs shall file a notice with the court through the court’s ECF system

advising of the date of the mailing.

       4.        Defendant is further ordered to provide Counsel for Plaintiffs with the last four

digits of the Social Security Number, or if none, the birthdate for putative class members whose

mail is returned undeliverable. Defendant shall provide that data within 24 hours of being notified

by Counsel for Plaintiff that mail for any putative plaintiff was returned as undeliverable.

       5.        The court orders that the envelope, which the aforementioned notices shall be

mailed in, state on the outside, in regular or bold typeface: “Notice of Unpaid Overtime Lawsuit




Order – Page 2
   Case 3:15-cv-03815-L Document 77 Filed 09/29/16                 Page 3 of 3 PageID 442


– Deadline to Join.” Plaintiffs’ Counsel may also e-mail the notices to the employees with the

same notice on the cover e-mail and subject line attaching the notices.

       6.        Finally, the court orders that the consent to join forms shall be in substantially

similar form and substance as the consent form attached to Plaintiff’s Motion.

       Signed this 29th day of September, 2016.




                                                      _________________________________
                                                      Sam A. Lindsay
                                                      United States District Judge




Order – Page 3
